         Case 6:15-bk-08657-CCJ      Doc 105     Filed 02/09/17   Page 1 of 2



                     UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

In re:

CHRISTINE LYNNE QUATTRY,                          Case No. 6:15-bk-08657-CCJ
a/k/a CHRISTINE QUATTRY PEACOCK,                  Chapter: 13

               Debtor.


                           CERTIFICATE OF SERVICE

         I hereby certify that a copy of the Order Granting Amended Joint Motion to

Continue February 14, 2017 Hearing and Related Deadline [D.E. 103] was served on

February 9, 2017.

                             McGUIREWOODS LLP


                             By     /s/ Courtney A. McCormick
                                    Sara F. Holladay-Tobias (FL Bar No. 0026225)
                                    Emily Y. Rottmann (FL Bar No.93154)
                                    Courtney A. McCormick (FL Bar No. 92879)
                                    Anna Haugen (FL Bar No. 89555)
                                    50 N. Laura Street, Suite 3300
                                    Jacksonville, Florida 32202
                                    (904) 798-3200
                                    (904) 798-3207 (fax)
                                    sfhollad@mcguirewoods.com
                                    erottmann@mcguirewoods.com
                                    cmccormick@mcguirewoods.com
                                    ahaugen@mcguirewoods.com

                             Attorneys and Trial Counsel for
                             Wells Fargo Bank, N.A.
         Case 6:15-bk-08657-CCJ      Doc 105     Filed 02/09/17    Page 2 of 2



                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was
electronically filed with the Clerk of the Court using CM/ECF on February 9, 2017. I
further certify that a copy of the foregoing document and notice of electronic filing is
being served this day via electronic mail and U.S. Mail on:

Christine L. Peacock
1190 July Circle
Deltona, FL 32738
legal@digital-studios.biz


                                                          /s/ Courtney A. McCormick
                                                                 Attorney



86947293v1




                                           2
